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            EXHIBIT A
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                               UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS
LIABILITY LITIGATION                                   MDL No. 2741

                                                       Case No. 16-md-02741-VC

This document relates to:

ALL ACTIONS


                                    PLAINTIFF FACT SHEET

      You are required to provide the following information regarding yourself, or for each individual
on whose behalf you are asserting legal claims in the above lawsuit. Each question must be answered in
full, but you may approximate where specified below. If you do not know or cannot recall the
information needed to answer a question, please explain that in response to the question. Please do not
leave any questions unanswered or blank, and use additional sheets as needed to fully respond.

I. REPRESENTATIVE CAPACITY

    A. If you are completing this Fact Sheet on behalf of someone else (e.g., a deceased person, an
       incapacitated person, or a minor), please complete the following:
        1.
              Your Name
        2.
              Your Home Address
        3.    What is your relationship to the person upon whose behalf you have completed this Fact
              Sheet? (e.g., parent, guardian, Estate Administrator)



[If you are completing this questionnaire in a representative capacity, please respond to the
remaining questions on behalf of the person who used or was exposed to Roundup® or other
glyphosate-based herbicides]


II. PERSONAL INFORMATION

    A. Name: ENGILIS, PETER

        Other Names by which you have been known (from prior marriages or otherwise, if any):


    B. Sex: Male


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     C. Social Security Number:

    D. Date and Place of Birth (City, State, Country):

        Buffalo, NY USA

     E. For each different city where you have lived for the past twenty-five (25) years, provide the
        following information:

                     City and State (include                       Approximate Dates You Lived
                   Country if outside the United                   There (Month/Year to Month/
                              States)                                        Year)
        Debary, FL USA                                            05/1990 to --/---- R Present
        Fort Lauderdale , FL USA                                  07/1996 to --/---- R Present

     F. Please complete the chart below detailing your employment history for the past twenty-five
        (25) years. If there were periods of retirement, unemployment, or student status during the past
        25 years, include those as well.

Number        Name of Employer       City and State        Approximate Occupation or             Job Duties
                                      Where You              Dates of    Job Title
                                        Worked             Employment
                                                           (Month/Year
                                                               to
                                                           Month/Year)
                                                                           Salesman of
                                                           07/1990 to      new homes         Manned model
1         LQH of Florida Inc.      Deltona, FL
                                                           03/2008         (self-            homes
                                                                           employed)
                                                                           Home cared
                                                           03/2008 to
2         PCC Universal Inc.       Debary, FL                              provider (self-   Administration
                                                           02/2018
                                                                           employed)
                                                           12/2015 to      Real Estate
                                   Fort Lauderdale ,
3         Balistreri Real Estate                           --/---- R       Sales (self-      Salesperson
                                   FL
                                                           Present         employed)

    G. Workplace Checklist: Have you ever worked in any of the occupations or workplaces listed
       below? If so, please check "yes" and then list the number(s) in the chart in section (F) above
       that corresponds to that occupation.

                          Industry                                Yes        No       Number in Chart in
                                                                                      Section G (see above)
Car Mechanic                                                       o          R
Cleaning/Maid Service                                              o          R
Electrician                                                        o          R
Farming/agricultural                                               o          R
Hairdressing                                                       o          R
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                          Industry                            Yes        No      Number in Chart in
                                                                                 Section G (see above)
Handled fission products                                      o          R
Handled jet propellant                                        o          R
Handled solvents                                              o          R
Horticultural                                                 o          R
Hospitals and Clinics                                         o          R
Landscaping                                                   o          R
Metal Working                                                 o          R
Painting                                                      o          R
Pest Exterminator                                             o          R
Pesticide use                                                 o          R
Petroleum Refinery                                            o          R
Rubber Factory                                                o          R
Schoolteacher                                                 o          R
Textile                                                       o          R
Woodworking                                                   o          R
X-radiation or gamma-radiation (regular exposure)             o          R

III. FAMILY INFORMATION

     A. For any grandparent, parent, sibling, or child who has been diagnosed with cancer or who has
        died, please provide the following information. Please include any adopted or step-children or
        siblings.

    Name            Relationship     Approximate Approximate Cause of Diagnosed             Date/Type
                                      Birth Year Date of Death Death with cancer?
Peter F.                           1922          ??/??/2008       Heart                   --/--/----
                 Father                                                   No
Engilis Sr.                                      86               failure                 N/A
                                                                  Brain
Catherine                          1921          ??/??/1991                               --/--/----
                 Mother                                           hemorag No
Engilis                                          70                                       N/A
                                                                  e
                 Paternal                        ??/??/1984       Heart                   --/--/----
Fotios Engilis                                                            No
                 Grandfather       1896          88               failure                 N/A
Anastasia        Paternal                        ??/??/1982       Heart                   --/--/----
                                                                          No
Engilis          Grandfather       1898          84               failure                 N/A
George           Maternal                        --/--/1975       Heart                   --/--/----
                                                                          No
Anthony          Grandfather       1895?         80               failure                 N/A
Louise           Maternal                        --/--/1990       Heart                   --/--/----
                                                                          No
Anthony          Grandmother       1899          91               failure                 N/A

IV. PERSONAL MEDICAL HISTORY

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     A. To the best of your ability, please list all primary care healthcare providers (not including
        pharmacies) where you have received care over the last 25 years. For each, please provide the
        name, city and state, and approximate dates of care.

              Name of Healthcare        City and State      Approximate Dates of Care
                  Provider
                                                          --/--/1995 to --/--/----
         Frank Mari MD PA               Debary, FL
                                                          RPresent

     B. Please indicate whether your medical history includes any of the following conditions,
        procedures, or medications:

            Condition, Procedure, or Medication:                  Yes           No    Treating Physician
Diabetes                                                           o            R
Obesity                                                            o            R
Auto-immune diseases (including but not limited to
                                                                   o            R
Crohn’s disease, Ulcerative Colitis, HIV)
Epstein Barr                                                       o            R
Ulcers                                                             o            R
Celiac Disease                                                     o            R
Hepatitis C                                                        o            R
Eczema                                                             o            R
Radiation                                                          o            R
Smoking                                                            o            R
Lupus                                                              o            R
Rheumatoid Arthritis                                               o            R
Organ, stem cell, or other transplant                              o            R
Immunosuppressive Medications                                      o            R

     C. To the best of your ability, please list all healthcare providers (not including pharmacies) where
        you have received treatment over the last 25 years for any type of cancer (including NHL), or
        for any of the conditions or procedures listed in the chart directly above. For each, please
        provide the name, city and state, approximate dates of care, and the reason for your visit. Please
        also execute the medical authorizations included in Exhibit A.

 Name of Healthcare Provider             City and State            Approximate          Reason for Visit
                                                                   Dates of Care
Victor Melgen MD Florida                                        --/--/2014 to
                                   Orange City, FL                                   CLL
Cancer Specialists                                              --/--/??
Santosh Nair MD Mid-Florida                                     --/--/2015 to
                                   Orange City, FL                                   CLL
Cancer Centers                                                  --/--/??
                                                                --/--/2014 to
Walter Hayne MD                    Orange City, FL                                   Melanoma surgery
                                                                --/--/??


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 Name of Healthcare Provider          City and State          Approximate           Reason for Visit
                                                              Dates of Care
Luis Barreras MD Broward                                   --/--/2019 to
                                Fort Lauderdale, FL                              CLL & swallowing
Oncology Associates                                        --/--/----
                                                           --/--/2019 to         Mass on neck &
Dr. George Georgakakis          Fort Lauderdale, FL
                                                           --/--/---- RPresent   swallowing
                                                           --/--/2018 to
Dr Jamie Long                   Fort Lauderdale, FL                              Anxiety
                                                           --/--/2019
Bayview Therapy/ Dr. Heather                               --/--/2019 to         Anxiety & stress of
                                Fort Lauderdale, FL
Violante                                                   --/--/---- RPresent   cancer
                                                           --/--/2015 to
James T. Shoukas, MD            Lake Mary, FL                                    Melanoma surgery
                                                           --/--/2015


V. CANCER HISTORY

    A. Have you been diagnosed with non-Hodgkin’s lymphoma, or “NHL”?
       R Yes o No

    B. When were you first diagnosed with NHL?
       Nov/2014


    C. Approximately when did you first begin experiencing symptoms of NHL?
       Jan/2014
       General fatigue

    D. Please list the names of the physician(s) that first diagnosed you with NHL and the city and
       state in which you were diagnosed.
       Dr. Walter Hayne; Orange City, Florida

    E. Please list the names of the primary oncologist(s) who have treated your NHL.
       Dr. Victor Melgen, Dr. Santosh Nair, Dr. Luis Barreras

    F. Describe your NHL. For example, do you have B-cell or T-cell NHL? Is it aggressive or
       indolent? Small cell or large cell? Any other details? (If you have Mycosis Fungoides, make
       sure to specify this.)
       Chronic Lymphocytic Leukemia

    G. Have you been diagnosed with any types of cancer other than NHL?
       R Yes o No




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    H. If yes, please answer the following questions for each type of cancer that you have
       been diagnosed with other than NHL:

       1. What type of cancer was diagnosed (including sub-type, if applicable)?
       2. On approximately what date did you first experience any symptoms that you
       believe are related to that cancer?
       3. Please list the names of the physician(s) that first diagnosed you with that cancer.
       4. Please list the names of the primary oncologist(s) who have treated that cancer.

  1. Type of cancer that was     2. Approximate date you 3. Physician(s) that 4. Primary Oncologist
  diagnosed (including sub-          first experienced   first diagnosed you (s) who treated you
      type, if applicable)               symptoms
                                                                               Dr. Stephen Weiss,
                                 03/--/2014
Bladder Cancer                                               Dr. Stephen Weiss Atlantic Urology
                                                                               Associates
                                 11/--/2014                                    Dr. Walter Hayne, Dr.
Melanoma on left arm                                         Dr. Frank Mari
                                                                               James Shoukas

     I. Has any physician or healthcare provider ever told you that you have a genetic predisposition
        for developing NHL or other types of cancer?

            o Yes R No

       1. Name, location (city and state), and occupation of the person who told you this.
       2. What were you specifically told about your genetic predisposition?
       3. Approximately when were you told this information?

1. Name of Physician 1. Occupation 1. City and State          2. Details told about    3. Approximate
    or Healthcare           of               of                   your genetic         Dates when you
       Provider      the Physician or the Physician or           predisposition         were told this
                       Healthcare       Healthcare                                        information
                         Provider         Provider
                                                                                      --/--/----


VI. PRIOR CLAIMS, LEGAL MATTERS, AND MEDICAL COVERAGE

    A. Have you ever filed a workers' compensation claim for accidents or injuries relating to
       substance exposure in the workplace? (Answer "no" if you have only filed workers'
       compensation claims unrelated to substance exposure.)
       o Yes R No

       If yes, please state:

       1.    Approximate date the claim was filed with your employer, or date that you notified
             employer of accident/injury giving rise to workers' compensation claim:


       2.    Nature of injury or accident claimed (what happened):

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B. Have you ever filed a claim for Social Security disability insurance benefits ("SSDI") for a
   disability caused by substance exposure in the workplace? (Answer "no" if you have only filed
   SSD1 claims unrelated to substanceexposure.)
   o Yes R No

   If yes, please state:

   1.    Approximate date the claim was filed with the Social SecurityAdministration:


   2.    Nature of disability giving rise to claim:


C. Have you ever filed any other type of disability claim for a disability caused by
   substance exposure in the workplace? (Answer "no" if you have only filed other types of
   disability claims unrelated to substance exposure.)
   o Yes R No

   If yes, please state:

   1.    Approximate date claim was filed:


   2.    Name of insurer/employer/government or other party to whom claim was made and, if
         applicable, claim number assigned:



   3.    Nature of disability giving rise to claim:


D. Have you ever been denied life insurance for reasons relating to your medical, physical,
   psychiatric or emotional condition?
   o Yes R No

   If yes, please state when, the name of the company, and the reason(s) for denial.

               Name of the Life                       When                 Reason for Denial
             Insurance Company
                                         --/--/----
E. Have you ever been denied medical insurance?
   R Yes o No

   If yes, please state when, the name of the company, and the reason(s) for denial.


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            Name of the Medical Insurance                    When                   Reason for Denial
                      Company
                                                   ??/??/2019                  Humana did not receive all
         Humana
                                                                               of the proper forms from me

    F. Have you ever filed a lawsuit or claim (including administrative charges, unemployment
       claims, and bankruptcy petitions) against anyone aside from the present lawsuit?
       o Yes R No

         If yes, for each lawsuit, state (1) the court in which the lawsuit was filed; (2) the case name; (3)
         the civil action or docket number assigned to the lawsuit; (4) a description of your claims in the
         lawsuit; and (5) the final result, outcome, or adjudication of claims (e.g., whether the lawsuit
         was dismissed by parties, dismissed by court, judgment granted in favor of a party).

         Court            Case Name        Civil Action or      Description of Claim      The final result,
                                           Docket Number                                    outcome, or
                                                                                         adjudication of the
                                                                                               claim



VII. ROUNDUP® AND OTHER GLYPHOSATE-BASED HERBICIDES

    A. Have you used Roundup® or other glyphosate-based products?
         R Yes o No

    B. When did you first begin using Roundup® or other glyphosate-based products?
         Jun/1990

    C. Please complete the chart below to detail your exposure to Roundup® and other glyphosate-
       based products. Use as many rows as necessary to describe different periods of usage.

 Dates of    Product Name Frequency              Usage       Type of Usage¹      Reason for    Location of
  Usage      (Please specify of Exposure                     (check all that       Usage        Exposure
             which products                                     apply):                         (City and
             are Roundup®                                                                         State
                                                                                 To control
                                              I sprayed
                                                                                 weeds and
                                              Roundup in
1990 -                                                   Residential: R          poison ivy
             Roundup Grass twice per          my yard
2015                                                     IT & O: o               on personal Debary, FL
             and Weed Killer month            using a
                                                         Agricultural: o         property
                                              hand
                                                                                 (1.2 acre
                                              sprayer
                                                                                 lot)




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 Dates of    Product Name Frequency            Usage       Type of Usage¹     Reason for    Location of
  Usage      (Please specify of Exposure                   (check all that      Usage        Exposure
             which products                                   apply):                        (City and
             are Roundup®                                                                      State
                                       I sprayed
                                       Roundup
                                       on this                                To control
2012 -                                            Residential: R
             Roundup Grass             rental                                 weeds on     Summerfield,
2013                         Monthly              IT & O: o
             and Weed Killer           property                               rental       FL
                                                  Agricultural: o
                                       using a                                property
                                       hand
                                       sprayer
                                       I sprayed
                                                                              To control
                                       Roundup in
1996 -                                            Residential: R              poison ivy   Fort
             Roundup Grass Occasionall my yard
2002                                              IT & O: o                   on my        Lauderdale,
             and Weed Killer y         using a
                                                  Agricultural: o             personal     FL
                                       hand
                                                                              property
                                       sprayer

¹Residential includes using the product on your lawn, garden, or place of residence. Industrial, Turf, and
Ornamental (“IT&O”) includes using the product in areas such as golf courses, nurseries, roadsides, or
for turf management or landscaping. Agricultural includes using the product to assist with farming or
harvesting crops

    D. Describe any precautions you took while using these products (examples: wearing gloves, a
       mask, or other protective gear).
         Plastic gloves

     E. For the products identified in the chart above, do you have the receipts, proof of purchase, or
        store of purchase for each product you claim to have used?
        o Yes R No

         To the extent you have receipts, proof of purchase, or store of purchase for these
         products, please provide copies of those receipts and other documents.

     F. Please complete the chart below to detail your exposure to other herbicides or pesticides. Use as
        many rows as necessary to detail different periods of usage.
 Dates of Usage      Type and Brand of        Frequency of           Usage           Reason for Usage
                    Herbicide or Pesticide     Exposure




VIII. DAMAGES CLAIMS




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    A. If you are claiming loss of income due to injuries allegedly caused by Roundup® or other
       glyphosate-based herbicides, complete the following for each of your employers, starting ten
       (10) years prior to your first diagnosis with cancer (whether NHL or another type of cancer)
       and continuing through today.

    Employer       Location (City Average Day or Approximate              How much money did you
                     and State) Hours per Night    Dates of               make in this job per week?
                                   week    Shift Employment              Please specify how much was
                                                                        due to overtime pay or bonuses.
LQH of Florida,                                         07/--/1990 to
                   Deltona, FL       60                               $2,000
Inc.                                                    03/--/2008
PCC Universal,                       Was 40             03/--/2008 to
                   Debary, FL                                         $2,000, after 2014 $300
Inc.                                 now 2              02/--/2018
                   Fort                                 12/--/2015 to
Balistreri Real
                   Lauderdale,       40                 --/--/----    Varies based on sales
Estatestate
                   FL                                   RPresent

     B. State the total amount of time that you have lost from work as a result of any medical condition
        that you claim was caused by Roundup® or other Monsanto glyphosate-based herbicides, and
        the amount of income that you lost:

        1.     Medical Condition:
               Chronic Lymphocytic Leukemia

        2.     Total number of days lost from work due to above medical condition or if forced
               retirement, date of retirement:
               Days: 90
               Date of Retirement:

        3.     Estimated total income lost (to date) from missed work, including explanation as to
               method used to calculate number:
               Damages to be calculated by jury at trial

     C. Have you paid or incurred any out-of-pocket medical expenses (that is, expenses not paid by
        your insurance company or by a government health program) related to any condition that you
        claim or believe was caused by Roundup® or other Monsanto glyphosate-based products for
        which you seek recovery in this lawsuit?
        R Yes o No

        If yes, please state the total amount of such expenses at this time: $TBD

    D. If you are making any claims for other non-medical out-of-pocket expenses, please complete
       the following:

        1.     For what?




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        2.     Amount of fees or expenses:


     E. Please list the names of all insurers or government health programs who have been
        billed for or paid medical expenses related to any condition that you claim or believe was
        caused by Roundup® or other Monsanto glyphosate-based products for which you seek
        recovery in this lawsuit.
        Blue Cross/Blue Shield

IX. DOCUMENTS

Please attach the following documents to this Fact Sheet, making certain that all releases are signed and
dated within 30 days of submission:

     A. Medical records release (Ex. A)-execute one per healthcare provider (including mental health,
        only if you are claiming mental health damages, including emotional distress, in the lawsuit).
        Plaintiffs' counsel will also obtain 10 blank forms covering past 25 years, and if Monsanto
        identifies additional health care providers not identified in the PFS or on Exhibit A, Plaintiff
        will fill in that health care provider and provide to Monsanto within seven days of the request.

     B. Employment history release (Ex. B)-execute one for each employer in past 25years.

     C. Workers' compensation, social security disability, and insurance claims releases(Ex. C).

     D. If you are claiming loss of income due to injuries allegedly caused by Roundup® or other
        glyphosate-based herbicides, complete the tax records and social security income release for the
        past 10 years (Ex. D).

     E. If applicable, decedent's death certificate.

                                            DECLARATION

    I declare under penalty of perjury that all of the information provided in this Plaintiff's Fact Sheet is
true and correct to the best of my knowledge, information and belief, and that I have supplied all the
documents requested in Part IX of this Declaration, to the extent that such documents are in my
possession, custody, or control, or in the possession of my lawyers.



                                                                                         03/02/2020
        Signature                                                                        Date




        Name (Printed)


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